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6
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8      (Additional counsel appearing on signature page)

9
                             UNITED STATES DISTRICT COURT
10
                            CENTRAL DISTRICT OF CALIFORNIA
11
          PARAMJIT LALLI, individually             Case No. 8:20-cv-00027-JWH-ADS
12        and on behalf of all others similarly
13        situated,                                PLAINTIFF’S NOTICE OF
                                                   MOTION, UNOPPOSED MOTION
14                     Plaintiff,                  FOR PRELIMINARY APPROVAL
15                                                 OF CLASS ACTION
          v.                                       SETTLEMENT, AND
16
                                                   INCORPORATED
17        FIRST TEAM REAL ESTATE –                 MEMORANDUM OF LAW
18
          ORANGE COUNTY, a California
          corporation,                             Date: Friday, March 5, 2021
19                                                 Time: 9:00 a.m.
20                     Defendant.                  Courtroom: 2
                                                   Judge: Hon. John W. Holcomb
21
22             TO THE HONORABLE COURT, ALL PARTIES, AND THEIR
23     ATTORNEYS OF RECORD:
24
               PLEASE TAKE NOTICE that on March 5, 2021, at 9:00 a.m. PST, or as
25
       soon thereafter as this matter may be heard, in Courtroom 2, of the United States
26
       District Court for the Central District of California, located at the George E. Brown,
27
                                               1
28     Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1      Jr. Federal Building and United States Courthouse, 3470 12th St., Riverside, CA
2      92501, before the Honorable Judge John W. Holcomb, Plaintiff Paramjit Lalli, on
3      behalf of himself and a class of similarly situated persons, with the consent of
4      Defendant First Team Real Estate, will and hereby does move the Court, by and
5      through his counsel, for entry of an order preliminarily approving the class action
6      settlement set forth in the Parties’ Settlement Agreement (“Settlement” or
7
       “Agreement”), certifying a class for settlement purposes, and providing for issuance
8
       of Notice to the Settlement Class. 1 This motion is based on this Notice of Motion,
9
       the following Memorandum of Points and Authorities, the Declaration of Avi R.
10
       Kaufman (including exhibits attached thereto), all pleadings, records and papers on
11
       file, and such other matters that may be presented to the Court.
12
                                              Respectfully submitted,
13
           Dated: February 5, 2021            /s/ Rachel E. Kaufman           d
14                                            Rachel E. Kaufman
15                                            Avi R. Kaufman
                                              KAUFMAN P.A.
16
17
18
19
20
21
22
23
24
25
26
       1
        The Agreement is attached as Exhibit 1. All capitalized terms used herein have the
       same definitions as those defined in the Agreement.
27
                                               2
28     Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1                   MEMORANDUM OF POINTS AND AUTHORITIES
2         I.      INTRODUCTION
3              The Settlement Agreement establishes a Settlement Fund in the amount of
4      $478,500 for the benefit of the Settlement Class. Defendant has also agreed to
5      injunctive relief consisting of the provision of a Telephone Consumer Protection
6      Act related notice and policy to all of Defendant’s realtors. If approved, the
7
       Settlement will bring an end to what has otherwise been, and likely would continue
8
       to be, hard-fought litigation centered on unsettled legal questions, including
9
       regarding the constitutionality of the Telephone Consumer Protection Act and the
10
       contours of what constitutes an automatic telephone dialing system.
11
               This motion seeks the entry of an order providing for, among other things:
12
               1. Preliminary Approval of the Settlement;
13
14             2. Preliminary certification of the Settlement Class and appointment of
                  Plaintiff as Class Representative and Kaufman P.A. as Class Counsel;
15
16             3. Approval of the Settlement Administrator;

17             4. Approval of the Notice program describing: (a) the Settlement and the
18                Settlement Class Members’ rights with respect to the Settlement; (b) the
                  proposed Release of claims; (c) Class Counsel’s request for attorneys’
19                fees and expenses and a Service Award for the Class Representative; and
20                (d) the procedures for opting-out of and for objecting to the Settlement.
21             5. Approval of the Claims process; and
22
               6. The scheduling of a Final Approval Hearing to consider Final Approval
23                of the Settlement.
24
               The Parties’ proposed Settlement is exceedingly fair and well within the
25
       range of Preliminary Approval for several reasons. See Declaration of Avi R.
26
27
                                               1
28     Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1      Kaufman (attached as Exhibit 2) at ¶ 2. First, it provides immediate monetary and
2      injunctive relief for Settlement Class Members where their recovery, if any, would
3      otherwise be uncertain. Id. Second, the Settlement was reached only after
4      effectively completing discovery, including extensive third party discovery, expert
5      discovery, numerous depositions, and informal discovery concerning Defendant’s
6      financial condition, fully briefing class certification, and engaging in extensive
7
       arm’s-length negotiations, including a full-day mediation before mediator Hon.
8
       Andrew J. Guilford (Ret.) with Judicate West and continued negotiations over the
9
       course of nearly a month thereafter with Judge Guilford’s assistance. Id. Third, the
10
       Settlement was not conditioned on any amount of attorneys’ fees for Class Counsel
11
       or Service Award for Plaintiff, underscoring the fairness of the process. Id. For all
12
       these reasons, and as further described below, Plaintiff respectfully requests that the
13
       Court preliminarily approve the Settlement.
14
           II.      BACKGROUND
15
                   a. The Telephone Consumer Protection Act
16
                 The Telephone Consumer Protection Act, 47 U.S.C. § 227, and its
17
18
       implementing regulations were enacted by Congress and the Federal

19     Communications Commission to “offer consumers greater protection from intrusive

20     telemarketing calls….” 2 The TCPA’s sponsor described unwanted robocalls as “the
21     scourge of modern civilization. They wake us up in the morning; they interrupt our
22     dinner at night; they force the sick and elderly out of bed; they hound us until we
23     want to rip the telephone right out of the wall.” 137 Cong. Rec. 30,821 (1991)
24     (statement of Sen. Hollings). As a remedial statute that was passed to protect
25
26
       2
          FCC, Small Entity Compliance Guide for the TCPA (dated May 13, 2013),
       https://apps.fcc.gov/edocs_public/attachmatch/DA-13-1086A1.pdf.
27
                                               2
28     Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1      consumers from unwanted automated telephone calls, the TCPA is construed
2      broadly to benefit consumers. Gager v. Dell Fin. Servs., LLC, 727 F.3d 265, 271
3      (3d Cir. 2013).
4               b. Procedural History and Facts
5            On January 7, 2020, Plaintiff filed the Complaint against First Team in this
6      action asserting claims under the TCPA’s autodialer and prerecorded voice call
7
       provisions (ECF 1). On February 4, 2020, First Team answered the Complaint
8
       (ECF 10). The parties then participated in a Rule 26 conference and prepared a
9
       joint scheduling report and discovery plan (ECF 15).
10
             Thereafter, the parties engaged in extensive written discovery involving,
11
       among other things, Plaintiff serving and responding to written discovery, multiple,
12
       extended meet and confers through which the parties were able to resolve their
13
       discovery disputes without the need for motion practice, and Plaintiff’s review of
14
       more than ten thousand pages of documents ultimately produced by Defendant.
15
       Kaufman Decl. ¶ 4. Plaintiff also engaged in extensive third-party discovery,
16
       resulting in, among other things, the production of tens of thousands of additional
17
18
       pages of electronic documents relevant to this action, including the call logs used

19     to identify Settlement Class Members. Id. Additionally, Plaintiff took the

20     depositions of one of Defendant’s realtors and a managerial employee, and
21     Defendant deposed Plaintiff and Plaintiff’s expert. Id.
22           On July 28, 2020, Defendant filed a motion to stay this action pending the
23     Supreme Court’s ruling in Facebook, Inc. v. Duguid, No. 19-511 (U.S.), regarding
24     what constitutes an automatic telephone dialing system under the TCPA (ECF 27).
25     Defendant subsequently filed an ex parte motion to shorten the briefing schedule on
26     the motion, which Plaintiff responded to, and the Court denied on August 3, 2020
27
                                               3
28     Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       (ECF 29-31). Defendant then filed a second ex parte application for stay, which
2       was fully briefed and denied by the court on August 18, 2020 (ECF 32-36).
3             On September 21, 2020, Plaintiff filed his motion for class certification,
4       attaching the expert report of Aaron Woolfson (ECF 42). Defendant responded on
5       October 12, 2020 (ECF 49). On October 19, 2020, Plaintiff filed a reply in support
6       of class certification (ECF 65). Kaufman Decl. ¶ 6.
7
              On November 13, 2020, the Parties engaged in a full-day, contentious
8
        mediation with Central District of California Judge Andrew Guilford (Ret.). Id. at
9
        ¶ 7. The mediation did not result in settlement. However, the parties engaged in
10
        further settlement negotiations with the assistance of Judge Guilford over the course
11
        of the following weeks ultimately reaching an agreement in principle as to a class
12
        wide resolution, culminating in the Settlement Agreement. Id.
13
              The Parties recognize and acknowledge the expense and length of continued
14
        proceedings that would be necessary to prosecute the litigation against Defendant
15
        through trial and potentially appeals. Kaufman Decl. ¶ 8. Plaintiff’s counsel has
16
        taken into account the strength of Defendant’s defenses, the limitations of
17
18
        Defendant’s financial ability to pay a potential final judgment, difficulties in

19      obtaining class certification and proving liability, the uncertain outcome and risk of

20      the litigation, especially in complex actions such as this one, the inherent delays in
21      such litigation, and, in particular, the risk that a change in the law, including a ruling
22      by this Court concerning the constitutionality of the TCPA or a ruling by the
23      Supreme Court or FCC regarding what constitutes an autodialer under the TCPA,
24      could nullify Plaintiff’s claims. Id.; see Facebook, No. 19-511; Creasy v. Charter
25      Communs., Inc., 2020 U.S. Dist. LEXIS 177798 (E.D. La. Sep. 28, 2020) (finding
26      that TCPA claims based on calls preceding the Supreme Court’s ruling in Barr v.
27
                                                4
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       Am. Assn. of Political Consultants, Inc., 140 S. Ct. 2335, 591 U.S. ___, (July 6,
2       2020), are not actionable because the TCPA was unconstitutional until a 2015
3       amendment was severed in Barr). Plaintiff’s counsel believes that the proposed
4       Settlement confers substantial and immediate benefits upon the Settlement Class
5       whereas continued and protracted litigation, even if successful, may have ultimately
6       delivered none. Id. Based on their evaluation of all these factors, Plaintiff and
7
        Plaintiff’s counsel have determined that the Settlement is in the best interests of
8
        Plaintiff and the Settlement Class. Id.
9
           III.   SUMMARY OF THE SETTLEMENT TERMS
10
              The following provides a summary and discussion of the material terms of
11
        the Settlement.
12
                  a. The Settlement Class
13
              The proposed Settlement establishes a Settlement Class of:
14
              All persons in the United States who from four years prior to the filing of this
15
              action through preliminary approval (1) one or more of First Team’s realtors
16            called or texted, (2)(a) on their cellular telephone numbers using Vulcan7
              and/or RedX, and/or (b) on their cellular or landline telephone numbers using
17
              a prerecorded voice message, (3) whose phone numbers First Team’s realtors
18            obtained from Vulcan7 and/or RedX, and (4) who are identified in the
19            Vulcan7 call logs and/or RedX call logs that have been produced in the
              action.
20
        Excluded from the Settlement Class are: (1) the Judge presiding over this action (or
21
        the Judge or Magistrate presiding over the action through which this matter is
22
        presented for settlement), and members of their families; (2) the Defendant,
23
        Defendant’s respective subsidiaries, parent companies, successors, predecessors,
24
        and any entity in which the Defendant or its parents have a controlling interest and
25
        its current or former officers and directors; (3) persons who properly execute and
26
27
                                                5
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       file a timely request for exclusion from the class; and (4) the legal representatives,
2       successors or assigns of any such excluded person(s). Agreement at ¶ 1.1.36.
3                 b. Settlement Consideration
4             Pursuant to the Settlement Agreement, upon Preliminary Approval,
5       Defendant will cause to be created a common fund in the amount of $478,500. The
6       Settlement Fund will be used for payments for (a) Settlement Class Members, (b)
7
        administrative expenses, including notice, (c) Representative Plaintiff’s attorneys’
8
        fees and costs, and (d) Representative Plaintiff’s incentive award, if any.
9
        Agreement at ¶¶ 1.1.40 and 4.1. Moreover, Defendant further agrees that it will
10
        internally distribute to its realtors a notice outlining the procedural requirements for
11
        TCPA compliance, including specifically with respect to the use of autodialer and
12
        prerecorded voice technology and compliance with the requirements of the National
13
        Do Not Call Registry, and the penalties for failure to comply with the TCPA. A
14
        copy of the notice is attached as Exhibit D to the Agreement. Agreement at ¶ 4.3.
15
                  c. Settlement Administrator
16
              Pending this Court’s approval, KCC will serve as the Settlement
17
18
        Administrator.     The Settlement Administrator’s responsibilities include:           i.

19      obtaining information for Settlement Class Members; ii. providing CAFA notice;

20      iii. establishing and maintaining the Settlement Website; iv. providing direct mailed
21      and publication Summary Notice; v. providing Long Form Notice through the
22      Settlement Website; vi. receiving, evaluating, and processing Claim Forms; vii.
23      advising Settlement Class Members if their Claim Forms are deficient; viii.
24      providing reports about the Notice Plan and number and identity of opt-outs (if any)
25      to Class Counsel; ix. responding to any Settlement Class Member inquiries; x.
26      processing all opt-out requests from the Settlement Class; xi. performing the duties
27
                                                6
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       described in the Agreement, and any other Settlement-administration-related
2       function at the joint instruction of Class Counsel and Defendant; and xii.
3       distributing claim payments to the Settlement Class Members that file Approved
4       Claims, as detailed in the Agreement. Agreement at §§ 7 and 8.
5             The anticipated notice and administration costs are approximately $73,000.
6       Kaufman Decl. ¶ 9. Those costs are reasonable in light of the costs for, among other
7
        things, mailed notice, national publication notice, claim verification, and
8
        distribution of settlement funds to more than ten thousand Settlement Class
9
        Members. Id.
10
                 d. The Notice Plan
11
              The Settlement Administrator will be responsible for administrating the
12
        Notice Plan. The Notice Plan consists of three different components: (1) direct
13
        mailed Summary Notice; (2) publication notice through targeted social media ads
14
        that link to the Class Settlement Website; and (3) Long-Form Notice to be provided
15
        on the Settlement Website. Agreement at § 7. The forms of the proposed Long-
16
        Form Notice and Summary Notice agreed upon by Plaintiff’s Counsel and
17
18
        Defendant, subject to this Court’s approval and/or modification, are attached to the

19      Settlement Agreement as Exhibits B and C.

20            The Notice program is designed to provide the Settlement Class with
21      important information regarding the Settlement and their rights thereunder,
22      including a description of the material terms of the Settlement; a date by which
23      Settlement Class Members may exclude themselves from or “opt-out” of the
24      Settlement; a date by which Settlement Class Members may object to the
25      Settlement; the process for submission of and a date by which a valid and timely
26      Claim Form must be submitted; Class Counsel’s fee application and/or the request
27
                                                7
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       for a Service Award; the date of the Final Approval Hearing; and information
2       regarding the Settlement Website where Settlement Class Members may access the
3       Agreement and other important documents. The Notice Plan here is straightforward,
4       easy to understand for Settlement Class Members, and designed to inform members
5       of their rights under the Agreement. Kaufman Decl. ¶ 10.
6             The Settlement Administrator shall send direct notice within thirty (30) days
7
        after the Court enters the Preliminary Approval Order. The Settlement
8
        Administrator shall also publish the publication notice starting within thirty (30)
9
        days after the Court enters the Preliminary Approval Order.
10
              e. Opt-Out and Objection Procedures
11
              Any Settlement Class Member who does not wish to participate in this
12
        Settlement must write to the Settlement Administrator pursuant to the terms in the
13
        Settlement stating an intention to be “excluded” from this Settlement. This written
14
        request for exclusion must be sent by mail to the Settlement Administrator at the
15
        address set forth in the Notice and postmarked no later than the Opt-Out Deadline.
16
        Settlement Class Members who timely opt-out of the Settlement will preserve their
17
18
        rights to individually pursue any claims they may have against Defendant, subject

19      to any defenses that Defendant may have against those claims. Agreement at ¶ 10.4.

20            Any objection to the Settlement Agreement, including any of its terms or
21      provisions, must be in writing, and filed with the Court or mailed to the Clerk’s
22      Office. If an objecting party chooses to appear at the hearing, no later than the Opt-
23      Out Deadline, a notice of intention to appear, either in person or through an attorney,
24      must be filed with the Court and list the name, address, and telephone number of
25      the person and attorney, if any, who will appear. Agreement at ¶ 10.2.
26
27
                                                8
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1             f. Release of Claims
2             In exchange for the Settlement consideration, Plaintiff and all Settlement
3       Class Members, agree to the release as defined in paragraph 1.1.29 and section 9 of
4       the Agreement. The Released Claims are narrowly defined to the subject matter of
5       this action and release only claims that were brought in the Litigation, arise from
6       the telemarketing conduct alleged in the Complaint, or relate to the manner and
7
        making, or attempted making, of telemarketing calls or texts to Settlement Class
8
        Members by or on behalf of First Team and/or its realtors within the four years
9
        preceding January 7, 2020. Kaufman Decl. ¶ 11.
10
              g. Claims Process and Calculation of Approved Claim Payments
11
              Each member of the Settlement Class who does not timely opt-out from the
12
        Settlement shall be a Settlement Class Member and entitled to make a claim. The
13
        form of the proposed Claim Form agreed upon by Class Counsel and Defendant,
14
        subject to this Court’s approval and/or modification, is attached to the Settlement
15
        Agreement as Exhibit A. Each Settlement Class Member shall be entitled to submit
16
        one claim per telephone number they used or subscribed to. Each Settlement Class
17
18
        Member who timely submits a valid Claim Form by the Claims Deadline shall be

19      entitled to a single payment in an amount equivalent to his or her pro rata share of

20      the Settlement Fund after any approved Fee Award, any approved Service Award,
21      and Settlement Administration Expenses are deducted. Each Settlement Class
22      Member shall be entitled to receive an amount equal to the Settlement Class
23      Recovery divided by the total number of Approved Claims. Agreement at § 4.
24            h. Distribution of Settlement Fund
25            Within sixty (60) days after the Effective Date, or such other date as the Court
26      may set, the Settlement Administrator shall pay from the Settlement Fund all
27
                                                9
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       Approved Claims by check made payable to the Settlement Class Member
2       submitting each Approved Claim, and shall mail the checks. To the extent that any
3       checks to Settlement Class Members expire and become null and void, the
4       Settlement Administrator shall distribute the funds associated with those checks on
5       a pro rata basis to Settlement Class Members who submitted an Approved Claim
6       and who cashed their checks, if doing so is administratively and economically
7
        feasible. Agreement at ¶ 8.4.
8
              i. Class Counsel Fees and Expenses and Plaintiff’s Service Award
9
             Defendant has agreed to pay from the Settlement Fund reasonable attorneys’
10
        fees and costs to Class Counsel and a Service Award to the Class Representative,
11
        in amounts approved by the Court. Agreement at §§ 5 and 6.
12
             Class Counsel, on behalf of Representative Plaintiff, intends to petition the
13
        Court for an incentive award not to exceed $5,000. In the event the Court approves
14
        the Settlement, but declines to award a Representative Plaintiff service award in the
15
        amount requested by Class Counsel, the Settlement will nevertheless be binding on
16
        the Parties and all Settlement Class Members. Agreement at § 5.
17
18
             Class Counsel intends to apply to the Court for attorneys’ fees totaling not

19      more than one-third of the Settlement Fund ($159,500) and documented and

20      reasonable expenses and costs incurred in the litigation.            Class Counsel’s
21      application for fees, expenses, and costs and the request for a service award shall
22      be filed no later than thirty-five (35) days prior to the Opt-Out Deadline. In the event
23      the Court approves the Settlement, but declines to award a Fee Award in the amount
24      requested by Class Counsel, the Settlement will nevertheless be binding on the
25      Parties and the Settlement Class Members. Agreement at § 6.
26
27
                                                10
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1                The Court should consider whether to grant or deny these awards separate
2       and apart from its consideration of the Settlement’s fairness and reasonableness.
3          IV.    THE SETTLEMENT WARRANTS PRELIMINARY APPROVAL
4                 a. The Legal Standard for Preliminary Approval
5             Rule 23(e) of the Federal Rules of Civil Procedure provides that before a
6       class action may be dismissed or compromised, notice must be given in the manner
7
        directed by the court, and judicial approval must be obtained. Fed. R. Civ. P. 23(e).
8
        As a matter of public policy, courts favor settlement of class actions for their earlier
9
        resolution of complex claims and issues, which promotes the efficient use of judicial
10
        and private resources. E.g., Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96,
11
        116 (2d Cir. 2005). The policy favoring settlement is especially relevant in class
12
        actions and other complex matters, where the inherent costs, delays and risks of
13
        continued litigation might otherwise overwhelm any potential benefit the class
14
        could hope to obtain. See, e.g., id.
15
              Approval of a class action settlement is a two-step process. The Court’s first
16
        step in the process of granting preliminary approval of a settlement is to determine
17
18
        that the proposed settlement class is appropriate for certification. Amchem Prods.

19      Inc. v. Windsor, 521 U.S. 591, 620 (1997). To certify a class, the plaintiff must

20      demonstrate that the proposed class and proposed class representative meet four
21      requirements: (1) numerosity; (2) commonality; (3) typicality; and (4) adequacy of
22      representation. Fed. R. Civ. P. 23(a)(1–4). Prior to formal class certification, a
23      preliminary fairness determination is appropriate “[i]f the proposed settlement
24      appears to be the product of serious, informed, non-collusive negotiations, has no
25      obvious deficiencies, does not improperly grant preferential treatment to class
26      representatives or segments of the class, and falls within the range of possible
27
                                                11
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       approval.” In re Tableware Antitrust Litig., 484 F. Supp. 2d 1078, 1079 (N.D. Cal.
2       2007). 3 Given that the Court will have the opportunity to weigh the settlement’s
3       strengths and weaknesses with more information at the final approval hearing, the
4       preliminary approval hearing need not substitute for that level of review. De Leon
5       v. Ricoh USA, Inc., 2019 U.S. Dist. LEXIS 204442, at *27 (N.D. Cal. Nov. 25,
6       2019). In the second step, after notice to settlement class members and time and
7
        opportunity for them to object or otherwise be heard, the court considers whether
8
        to grant final approval of the settlement as fair and reasonable under Rule 23.
9
                 The Court should take the first step in the process and grant Preliminary
10
        Approval of the Settlement.        The Settlement is clearly within the range of
11
        reasonableness and satisfies all standards for preliminary approval. In fact, the
12
        Settlement provides immediate and significant monetary and injunctive relief.
13
                    b. The Settlement Satisfies the Criteria for Preliminary Approval
14
                 Prior to formal class certification, a preliminary fairness determination is
15
        appropriate “if the proposed settlement appears to be the product of serious,
16
        informed, non-collusive negotiations, has no obvious deficiencies, does not
17
18
        improperly grant preferential treatment to class representatives or segments of the

19      class, and falls within the range of possible approval.” De Cabrera v. Swift Beef

20      Co., No. EDCV 18-2551 PSG (Ex), 2020 U.S. Dist. LEXIS 164615, at *13 (C.D.
21      Cal. June 25, 2020); Tableware, 484 F. Supp. 2d at 1079; see also Ross v. A.H.
22      Robins Co., 700 F. Supp. 682, 683 (S.D.N.Y. 1988) (“A strong initial presumption
23      exists in favor of a proposed settlement where the proponents establish that: (i) the
24
25
26
        3
            Internal citations omitted throughout.
27
                                                12
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       settlement is not collusive …; (ii) the proponents have counsel experienced in
2       similar cases; (iii) there has been sufficient discovery ….”).
3             Each of the relevant factors weighs heavily in favor of Preliminary Approval
4       of this Settlement. Kaufman Decl. ¶ 12. The Settlement was the result of serious,
5       informed, non-collusive negotiations, has no obvious deficiencies, and does not
6       improperly grant preferential treatment to any segments of the class. Id.
7
                         i. The Settlement Agreement is the Product of Serious,
8                           Informed and Arm’s Length Negotiations
9             First, the proposed Settlement is the product of serious, informed, non-
10      collusive negotiations. Settlements are generally found to be non-collusive when
11      reached with the assistance of a third-party neutral, see, e.g., Boring v. Bed Bath &
12      Beyond of Cal. LLC, 2013 U.S. Dist. LEXIS 165909, at *21 (N.D. Cal. Nov. 21,
13      2013), and are found to have been informed where the parties exchanged evidence
14      and information prior to negotiations. See, e.g., Moshogiannis v. Sec. Consultants
15      Grp., Inc., 2012 U.S. Dist. LEXIS 16287, at *14 (N.D. Cal. Feb. 8, 2012)
16
        (approving settlement where “the parties conducted a significant amount of
17
        informal discovery…”). Here, the Settlement was negotiated with the assistance of
18
        Central District of California Judge Andrew Guilford (Ret.) over the course of
19
        several weeks commencing with a full day mediation on November 13, 2020, and
20
        only after the parties had nearly completed discovery and fully briefed class
21
        certification. Kaufman Decl. ¶ 13. Class Counsel also engaged and obtained
22
        testimony from a data analysis and management and telecommunications systems
23
        expert. Id. Class Counsel’s understanding of the key issues driving the litigation,
24
        including the likelihood of class certification (which was fully briefed and
25
        scheduled for hearing only a couple days after the parties reached an agreement in
26
27
                                                13
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       principle), the strength of Defendant’s defenses, and the ever-shifting TCPA law
2       landscape, prepared them for well-informed settlement negotiations. Id.
3             The Settlement here is the result of extensive, arm’s-length negotiations
4       between experienced attorneys who are familiar with class action litigation and with
5       the legal and factual issues of this case. Id. Class Counsel have extensive experience
6       and expertise prosecuting complex class actions, and are particularly experienced
7
        in the litigation, certification, and settlement of nationwide TCPA class action
8
        cases. Id. at ¶¶ 14-18. Class Counsel zealously represented Plaintiff and the
9
        Settlement Class Members’ interests throughout the litigation and will continue to
10
        do so. Id. at ¶ 19. The Settlement is therefore the result of serious, arm’s-length,
11
        and informed negotiations justifying preliminary approval.
12
                        ii. There Are No Obvious Deficiencies in the Settlement
13
              The Settlement is reasonable and fair because it provides an excellent
14
        monetary result for Settlement Class Members and meaningful injunctive relief in
15
        return for a narrow release tailored to the conduct and claims presented in the action.
16
        Payments from the Settlement Fund that are not successfully delivered to claiming
17
18
        Settlement Class Members will be divided among other Settlement Class Members

19      who do claim their initial distributions, if administratively feasible. While payments

20      for attorneys’ fees, expenses, and an incentive award for the class representative are
21      to be paid from the Settlement Fund, the Settlement is not conditioned on any such
22      award.
23            Additionally, the Settlement includes a comprehensive Notice Plan, which
24      provides notice to Settlement Class Members of, among other things, the
25      Settlement’s Opt-Out and Objection provisions, as well as their right to file Claims.
26      The Settlement also provides for a Settlement Administrator to coordinate notice to
27
                                                14
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       the class, any requests for exclusion, and payments to Settlement Class Members
2       upon Final Approval.
3             Accordingly, there are no obvious deficiencies in the Settlement, and
4       preliminary approval is warranted. See De Leon, 2019 U.S. Dist. LEXIS 204442, at
5       *31 (granting preliminary approval to class settlement after generally analyzing the
6       settlement’s terms and finding there were no obvious deficiencies).
7
                       iii. The Settlement Provides No Preferential Treatment
8
              The Settlement provides no preferential treatment to any individual member
9
        of the proposed Settlement Class. Under the Settlement, everyone in the class is
10
        treated exactly the same: each class member seeking to recover a portion of the
11
        Settlement Fund must submit the same Claim Form, and each class member
12
        submitting a Valid Claim will receive the same pro rata distribution from the
13
        Settlement Fund. While Plaintiff will be seeking from this Court an incentive award
14
        in recognition of the time and effort he spent acting as class representative –
15
        including by responding to written discovery, preparing for and testifying at his
16
        deposition, and participating in mediation and subsequent settlement negotiations
17
18
        (see Kaufman Decl. ¶ 20) – such awards are common and in no way preclude

19      preliminary approval. See, e.g., Brown v. Cvs Pharmacy, Inc., No. CV15-7631 PSG

20      (PJWx), 2017 U.S. Dist. LEXIS 182309, at *25 (C.D. Cal. Apr. 24, 2017).
21                     iv. The Settlement Is Within the Range of Possible Approval
22            In evaluating the range of possible approval, “courts primarily consider
23      plaintiffs’ expected recovery balanced against the value of the settlement offer.”
24      Tableware, 484 F. Supp. 2d at 1080. Courts have determined that settlements may
25      be reasonable even where plaintiffs recover only part of their actual losses. Courts
26      recognize that the “essence of settlement is compromise,” and a settlement need not
27
                                                15
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       represent a complete victory for the plaintiffs to be approved. Isby v. Bayh, 75 F.3d
2       1191, 1200 (7th Cir. 1996). Although the TCPA provides for statutory damages of
3       $500 for each violation, it is well-settled that a proposed settlement may be
4       acceptable even though it amounts to only a small percentage of the potential
5       recovery that might be available to the class members at trial. See, e.g., National
6       Rural Tele. Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 527 (C.D. Cal. 2004) (finding
7
        that it is “well settled law that a proposed settlement may be acceptable even though
8
        it amounts to only a fraction of the potential recovery”). “The Court’s function on
9
        this application is well known it is not to reopen and enter into negotiations with
10
        the litigants in the hope of improving the settlement to meet an objector’s particular
11
        objections; nor is the Court called upon to substitute its business judgment for that
12
        of the parties who worked out a settlement after hard, arm’s-length, good-faith
13
        bargaining. Rather, it is called upon to evaluate the probabilities of success upon a
14
        trial and to compare the benefits thereof with the terms of compromise.” Kuck v.
15
        Berkey Photo, Inc., 87 F.R.D. 75, 78 (S.D.N.Y. 1980).
16
              Here, the substantial monetary relief on a per Settlement Class Member basis
17
18
        and the injunctive relief agreed to by Defendant place the Settlement well within

19      the range of possible approval. Kaufman Decl. ¶ 21. Defendant will pay $478,500

20      into a common settlement fund to resolve this matter. This amount is significant
21      (especially for the size and financial capacity of Defendant), and exceeds the range
22      of similar settlements. Id. Given the anticipated Class Member participation rate,
23      the per Class Member recovery is expected to be $50 or more. Id.; see Cabiness v.
24      Educ. Fin. Sols., LLC, 2019 U.S. Dist. LEXIS 50817, at *12 (N.D. Cal. Mar. 26,
25      2019) (approving settlement providing $33.36 per claimant); Estrada v. iYogi, Inc.,
26
27
                                                16
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       2015 U.S. Dist. LEXIS 137299, at *19 (E.D. Cal. Oct. 6, 2015) ($40); In re Capital
2       One TCPA Litig, 80 F. Supp. 3d 781 (N.D. Ill. 2015) ($34.60).
3             Ultimately, any settlement requires the parties to balance the merits of the
4       claims and defenses asserted against the risks of continued litigation and attendant
5       delay. Kaufman Decl. ¶ 22. Plaintiff and Class Counsel believe that the claims
6       asserted are meritorious and that Plaintiff would prevail if this matter proceeded to
7
        trial. Id. Defendant denies any liability and is willing to litigate vigorously. Id. The
8
        Parties recognize and acknowledge the expense and length of continued
9
        proceedings that would be necessary to prosecute the Litigation against Defendant
10
        through trial and potentially appeals. Id. Plaintiff’s counsel also has taken into
11
        account the strength of Defendant’s defenses, Defendant’s financial capacity,
12
        difficulties in obtaining class certification and proving liability, the uncertain
13
        outcome and risk of litigation, especially in complex actions such as this one, the
14
        inherent delays in such litigation, and, in particular, the risk that a change in TCPA
15
        law, including a ruling by this Court that the TCPA was unconstitutional or an
16
        unfavorable interpretation by the Supreme Court or FCC regarding what constitutes
17
18
        an autodialer, could itself defeat Plaintiff’s claims in whole or in part. Id. Plaintiff’s

19      counsel believes that the proposed Settlement confers substantial and immediate

20      monetary and non-monetary benefits upon the Settlement Class. Id. Based on their
21      evaluation of all these factors, Plaintiff and Plaintiff’s counsel have determined that
22      the Settlement is in the best interests of Plaintiff and the Settlement Class, who
23      otherwise may have received nothing. Id.
24            The settlement in the present case satisfies each of the four factors generally
25      considered by courts in this district on preliminary approval. Therefore, this Court
26
27
                                                17
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       should – consistent with the Ninth Circuit’s strong judicial policy favoring
2       settlement – preliminarily approve the Settlement Agreement.
3                 c. Certification of the Settlement Class is Appropriate
4             Certification under Rule 23(a) of the Federal Rules of Civil Procedure
5       requires that (1) the class is so numerous that joinder of all members is
6       impracticable, (2) there are questions of law or fact common to the class, (3) the
7
        claims or defenses of the representative parties are typical of the claims or defenses
8
        of the class, and (4) the representative parties will fairly and adequately protect the
9
        interests of the class. Under Rule 23(b)(3), certification is appropriate if the
10
        questions of law or fact common to the members of the class predominate over
11
        individual issues of law or fact and if a class action is superior to other available
12
        methods for the fair and efficient adjudication of the controversy. For settlement
13
        purposes, Plaintiff and Class Counsel respectfully request that the Court certify the
14
        Settlement Class defined in paragraph 1.1.36 of the Agreement. “[T]he ‘settlement
15
        only’ class has become a stock device in modern class action litigation.” In re
16
        American Int’l Group, Inc. Secs. Litig., 689 F.3d 229, 238 (2d Cir. 2012).
17
18
        “Confronted with a request for settlement-only class certification, a district court

19      need not inquire whether the case, if tried, would present intractable management

20      problems . . . for the proposal is that there be no trial.” Amchem, 521 U.S. at 620.
21            Certification of the proposed Settlement Class will allow notice of the
22      Settlement to issue to inform Settlement Class Members of the existence and terms
23      of the Settlement, of their right to object and be heard on its fairness, of their right
24      to opt-out, and of the date, time and place of the Final Approval Hearing. See
25      Manual for Compl. Litig., at §§ 21.632, 21.633 (4th ed. 2004). For the reasons set
26      forth below, certification is appropriate under Rule 23(a) and (b)(3).
27
                                                18
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1              The numerosity requirement of Rule 23(a) is satisfied because the Settlement
2       Class consists of more than 30,000 persons identifiable from the call logs produced
3       by third parties in discovery, and joinder of all Settlement Class Members is
4       impracticable. Kaufman Decl. ¶ 23; see Fed. R. Civ. P. 23(a)(1).
5              “Commonality requires the plaintiff to demonstrate that the class members
6       ‘have suffered the same injury,’” and the plaintiff’s common contention “must be
7
        of such a nature that it is capable of classwide resolution – which means that
8
        determination of its truth or falsity will resolve an issue that is central to the validity
9
        of each one of the claims in one stroke.” Wal-Mart Stores, Inc. v. Dukes, 564 U.S.
10
        338, 350 (2011) (citation omitted). Here, the commonality requirement is readily
11
        satisfied. Kaufman Decl. ¶ 24. There are multiple questions of law and fact that are
12
        common to the Settlement Class that would generate common answers, and as
13
        discussed in detail in Plaintiff’s motion for class certification. Id. These questions
14
        are directly guided by Plaintiff’s claims, Defendant’s defenses, and are subject to
15
        class wide resolution based on common evidence, including whether First Team
16
        agents made prerecorded voice calls; whether the Vulcan7 and RedX dialers are
17
18
        automatic telephone dialing systems; whether the calls were made for telemarketing

19      purposes; whether the calls were made without prior express written consent; and

20      whether First Team is vicariously liable under a ratification theory for First Team
21      agents’ TCPA violations. Id.; see also Plaintiff’s motion for class certification
22      (ECF 42).
23             For similar reasons, Plaintiff’s claims are reasonably coextensive with those
24      of the absent class members, such that the Rule 23(a)(3) typicality requirement is
25      satisfied. The typicality requirement ensures that “the interest of the named
26      representative aligns with the interests of the class.” Wolin v. Jaguar Land Rover
27
                                                19
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       N. Am., LLC, 617 F.3d 1168, 1175 (9th Cir. 2010). Typicality is present when a
2       defendant acts uniformly toward the class members, where that uniform conduct
3       results in injury to the class members, and where the named plaintiff suffers a
4       similar injury to that of the class members as a result. Hanon v. Dataproducts Corp.,
5       976 F.2d 497, 508 (9th Cir. 1992). Plaintiff is typical of the Settlement Class
6       Members because his claims and the class’s claims arise from First Team’s single
7
        course of conduct and are based on the same legal theories. Plaintiff has the same
8
        TCPA claims as all other Settlement Class Members who were called or texted by
9
        First Team realtors using Vulcan7 and/or RedX.
10
              Plaintiff and Class Counsel also satisfy the adequacy of representation
11
        requirement. Adequacy under Rule 23(a)(4) requires (1) a plaintiff’s attorney to be
12
        qualified, experienced, and generally able to conduct the proposed litigation; and
13
        (2) a plaintiff to not have interests antagonistic to those of the class. Lerwill v.
14
        Inflight Motion Pictures, Inc., 582 F.2d 507, 512 (9th Cir. 1978). Plaintiff has no
15
        antagonistic or conflicting interest with the members of the proposed class. To the
16
        contrary, he has demonstrated his commitment to the class by actively participating
17
18
        in the litigation. He has worked with counsel to develop the class claims, responded

19      to requests for production and interrogatories, and was deposed. Kaufman Decl. ¶

20      25. Further, Plaintiff and the Settlement Class are represented by qualified and
21      competent Class Counsel who have extensive experience and expertise prosecuting
22      complex class actions, and TCPA class actions, in particular. Id. at ¶¶ 14-18; see
23      Ikuseghan v. Multicare Health Sys., No. C 14-5539 BHS, 2015 U.S. Dist. LEXIS
24      99175, at *15 (W.D. Wash. July 29, 2015) (finding adequacy satisfied where
25      plaintiff’s counsel served as counsel “in other class action lawsuits, including a
26      previous TCPA case”). Class Counsel have vigorously litigated this action and will
27
                                                20
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       continue to vigorously prosecute this matter through completion. Kaufman Decl. at
2       ¶ 19.
3               Rule 23(b)(3)’s predominance requirement tests “whether proposed classes
4       are sufficiently cohesive to warrant adjudication by representation.” Torres v.
5       Mercer Canyons, Inc., 835 F.3d 1125, 1134 (9th Cir. 2016). The Settlement Class
6       readily satisfies the Rule 23(b)(3) predominance requirement because the questions
7
        common to all Settlement Class Members – including the key issue of whether First
8
        Team is vicariously liable under a ratification theory for First Team agents’ TCPA
9
        violations – focus on Defendant’s conduct and can be resolved based on common
10
        evidence, including Defendant’s records, Defendant’s employees’ and realtors’
11
        testimony, and Plaintiff’s expert’s testimony.
12
                Relatedly, the Settlement Class satisfies Rule 23(b)(3)’s superiority
13
        requirement because “common issues of law and fact predominate over any
14
        individualized issues” and “the large number of claims, along with the relatively
15
        small statutory damages, the desirability of adjudicating these claims consistently,
16
        and the probability that individual members would not have a great interest in
17
18
        controlling the prosecution of these claims, all indicate that a class action would be

19      the superior method of adjudicating” Plaintiff’s “claims under the TCPA.” See

20      Kaufman Decl. ¶ 24; see Kron v. Grand Bahama Cruise Line, LLC, 328 F.R.D. 694,
21      702 (S.D. Fla. 2018).
22              For these reasons, the Court should certify the Settlement Class.
23                 d. The Court Should Approve the Proposed Notice Plan
24              “Rule 23(e)(1)(B) requires the court to direct notice in a reasonable manner
25      to all class members who would be bound by a proposed settlement, voluntary
26      dismissal, or compromise regardless of whether the class was certified under Rule
27
                                                21
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
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1       23(b)(1), (b)(2), or (b)(3).” Manual for Compl. Litig., § 21.312. The best practicable
2       notice is that which is “reasonably calculated, under all the circumstances, to
3       apprise interested parties of the pendency of the action and afford them an
4       opportunity to present their objections.” Mullane v. Cent. Hanover Bank & Trust
5       Co., 339 U.S. 306, 314 (1950); Manual for Compl. Litig., § 21.312.
6               The Notice program satisfies this standard. As recited in the Settlement and
7
        above, the Notice Program will inform Settlement Class Members of the substantive
8
        terms of the Settlement. It will advise Settlement Class Members of their options
9
        for remaining part of the Settlement, for objecting to the Settlement or Class
10
        Counsel’s attorneys’ fee application or request for Service Award, for opting-out of
11
        the Settlement, for submitting a claim, and for obtaining additional information
12
        about the Settlement. Through the provision of (1) the Summary Notice, both
13
        directly by mail and by publication, to account for any Settlement Class Members
14
        for which a mailing address is not identified, and (2) the Long Form Notice, which
15
        can be accessed on the Settlement Website, the Notice Plan is designed to reach a
16
        high percentage of Settlement Class Members and exceeds the requirements of
17
18
        Constitutional Due Process. Kaufman Decl. ¶ 10. Therefore, the Court should

19      approve the Notice Program and the form and content of the Notices.

20         V.      PROPOSED SCHEDULE OF EVENTS
21              In connection with Preliminary Approval of the Settlement, the Court should
22      also set a date and time for the Final Approval Hearing. Other deadlines in the
23      Settlement approval process, including the deadlines for requesting exclusion from
24      the Settlement Class or objecting to the Settlement, will be determined based on the
25      date of the Final Approval Hearing or the date on which the Preliminary Approval
26      Order is entered. Class Counsel propose the following schedule:
27
                                                22
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
        Case No. 8:20-cv-00027-JWH-ADS
     Case 8:20-cv-00027-JWH-ADS Document 73 Filed 02/05/21 Page 29 of 30 Page ID #:3022




1                       Event                                     Date
2        Notice Date                           No more than 30 days after Preliminary
                                               Approval
3
         Deadline for filing papers in support No less than 35 days prior to Opt Out
4        of Class Counsel’s application for an Deadline
         award of attorneys’ fees and
5
         expenses
6        Claims Deadline                       Approximately 60 days after the Notice
7                                              Date
         Opt-out Deadline                      Approximately 60 days after the Notice
8                                              Date
9        Deadline for filing Motion for Final No less than 15 days prior to the Final
         Approval                              Approval Hearing
10
         Responses to Objections               No less than 7 days prior to the Final
11                                             Approval Hearing
12       Final Approval Hearing                Approximately 120 days after entry of
                                               Preliminary Approval and no less than 90
13                                             days after entry of Preliminary Approval
14
15         VI.   CONCLUSION
16            Based on the foregoing, Plaintiff and Class Counsel respectfully request that
17      the Court:
18            (1) grant Preliminary Approval to the Settlement;
19
              (2) preliminarily approve the terms of the Settlement as within the range of
20            fair, adequate and reasonable;
21
              (3) provisionally certify the Settlement Class pursuant to Federal Rule of
22            Civil Procedure 23(b)(3) and (e) for settlement purposes only;
23
              (4) approve the Notice Plan and approve the form and content of the Notices
24            of the Settlement;
25
              (5) approve the Claims process;
26
27
                                                23
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
        Case No. 8:20-cv-00027-JWH-ADS
     Case 8:20-cv-00027-JWH-ADS Document 73 Filed 02/05/21 Page 30 of 30 Page ID #:3023




1             (6) approve the procedures for members of the Settlement Class to exclude
              themselves from the Settlement or to object to the Settlement;
2
3             (7) appoint Plaintiff as Class Representative;

4             (8) appoint Plaintiff’s counsel, Rachel E. Kaufman and Avi R. Kaufman of
5             Kaufman P.A., as Class Counsel; and
6             (9) schedule a Final Approval hearing, at which the Court will conduct an
7             inquiry into the fairness of the Settlement, determine whether it was made in
              good faith, and determine whether to approve the Settlement and Class
8             Counsel’s application for attorneys’ fees, costs, and expenses and a service
9             award to the Class Representative.
10
              A Proposed Preliminary Approval Order is attached hereto as Exhibit 3.
11
12
                                               Respectfully submitted,
13
14
         Dated: February 5, 2021               /s/ Rachel E. Kaufman          d
15                                             Rachel E. Kaufman
16                                             Avi R. Kaufman
                                               KAUFMAN P.A.
17
                                               400 NW 26th Street
18                                             Miami, Florida 33127
19                                             Telephone: (305) 469-5881
                                               Email: kaufman@kaufmanpa.com
20                                             Counsel for Plaintiff Lalli and all others
21                                             similarly situated
22
23
24
25
26
27
                                                24
28      Plaintiff’s Motion for Preliminary Approval of Class Action Settlement
        Case No. 8:20-cv-00027-JWH-ADS
